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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR13-137-MJP
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   DAVID COX,                           )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession of Unregistered Firearm

15 Date of Detention Hearing:     May 16, 2013.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been indicted for unlawfully possession certain firearms which



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01 are required to be registered. The AUSA advises that a superceding indictment is forthcoming

02 in which defendant will also be charged with possession of a firearm in furtherance of a drug

03 trafficking crime, which carries a mandatory 5 year consecutive sentence. The instant charge

04 arose in the contest of a search of a house in which defendant resided with his co-defendant,

05 during which numerous firearms, controlled substances, cash, drug paraphernalia, and what the

06 government describes as a “home invasion burglary kit” consisting of a mask, baseball bat,

07 firearms, and restraints. Also seized from the residence were items alleged to have been stolen

08 from defendant’s previous employer, listed for sale on Craig’s List. Defendant’s housemate

09 and co-defendant is a convicted felon, prohibited from possessing a firearm or ammunition.

10         2.      Defendant poses a risk of nonappearance based on use of controlled substances

11 and past failures to appear. He poses a risk of danger based on the nature and circumstances of

12 the charges, use of controlled substances, and prior criminal record including pending charges.

13         3.      There does not appear to be any condition or combination of conditions that will

14 reasonably assure the defendant’s appearance at future Court hearings while addressing the

15 danger to other persons or the community.

16 It is therefore ORDERED:

17      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

18         General for confinement in a correction facility separate, to the extent practicable, from

19         persons awaiting or serving sentences or being held in custody pending appeal;

20      2. Defendant shall be afforded reasonable opportunity for private consultation with

21         counsel;

22      3. On order of the United States or on request of an attorney for the Government, the



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01        person in charge of the corrections facility in which defendant is confined shall deliver

02        the defendant to a United States Marshal for the purpose of an appearance in connection

03        with a court proceeding; and

04     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

05        for the defendant, to the United States Marshal, and to the United State Pretrial Services

06        Officer.

07        DATED this 17th day of May, 2013.

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                                                        A
                                                        Mary Alice Theiler
                                                        United States Magistrate Judge
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